  Case: 4:22-cv-00775-PLC Doc. #: 5 Filed: 07/26/22 Page: 1 of 2 PageID #: 539




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI


 PETS ALONE SANCTUARY OF LINCOLN COUNTY,                      Civil Action No. 4:22-CV-00775-PLC

                              PLAINTIFFS,                     Removed from:

 V.                                                          THE CIRCUIT COURT OF
                                                             ST. LOUIS COUNTY MISSOURI
 MIDWEST FAMILY MUTUAL INSURANCE COMPANY
                                                              CASE NO. 22SL-CC02987
                              DEFENDANTS.
                                                              JURY TRIAL DEMANDED


              MOTION TO WITHDRAW AND ENTRY OF APPEARANCE

        COMES NOW Attorney, Daniel N. Allmayer, and hereby withdraws as counsel of record

for Defendant Midwest Family Mutual Insurance Company. Further, Attorney Matthew M. Hogan

hereby enters his appearance as substituting counsel of record for Defendant Midwest Family

Mutual Insurance Company. In addition to service of this Notice on counsel of record, Notice has

been emailed to Defendant, Midwest Family Mutual Insurance Company on this 26th day of July,

2022.

                                                   Respectfully submitted,

 . /s/ Matthew M. Hogan_________________          /s/ Daniel N. Allmayer__________________
 Matthew M. Hogan, #49632                        Daniel N. Allmayer, #32578
 Swanson Bernard, LLC                            Swanson Bernard, LLC
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 Attorney for Defendant                          Attorney for Defendant
  Case: 4:22-cv-00775-PLC Doc. #: 5 Filed: 07/26/22 Page: 2 of 2 PageID #: 540




                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing was electronically filed with the
Clerk of the Court using the CM/ECF system, which sent electronic notification on this 26th day
of July, 2022, on all parties of record.

                                                    /s/ Matthew   M. Hogan
